                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                        CRIMINAL DOCKET NO. 5:15CR77-RLV


UNITED STATES OF AMERICA,        )
               Plaintiff,        )
                                 )
                                 )                      AMENDED
           vs.                   )                      ORDER
                                 )
IRVING R. RODRIGUEZ-MUNGUIA,     )
                Defendant.       )
________________________________ )


       THIS MATTER is before the Court upon Defendant’s Unopposed Motion to

Continue Docket Call from the May 2, 2016, criminal term, in the Statesville Division.

       For the reasons stated in the Defendant’s Motion and upon a showing that defense

counsel has not had sufficient time within which to adequately prepare in this case, taking

into account the exercise of due diligence, the Court will allow the continuance. 18 U.S.C.

§ 3161(h)(8)(B)(iv). The Court further finds that the ends of justice served by taking such

action as requested by the Defendant outweigh the best interest of the public and the

Defendant to a speedy trial.

       IT IS, THEREFORE, ORDERED that the Defendant’s Motion for a continuance is

GRANTED. This case is hereby continued from the May 2, 2016, criminal term in the

Statesville Division to the July 18, 2016, criminal term in the Statesville Division.

Moreover, the Court has previously granted two other continuances in this case, and urge

the parties to finalize any remainder issues, as this will be the final continuance granted

in this matter.
                               Signed: April 11, 2016




    Case 5:15-cr-00077-KDB-DCK            Document 41   Filed 04/11/16    Page 1 of 1
